                       Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 1 of 8
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Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 2 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 3 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 4 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 5 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 6 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 7 of 8
Case 1:23-mj-01563-KK Document 1 Filed 10/25/23 Page 8 of 8
